                             United States District Court
                                  District of South Dakota
                                        Office of the Clerk
                                 225 South Pierre Street, Room 405
                                         Pierre, SD 57501

Matthew W. Thelen                                                                       Telephone
Clerk of Court                                                                      (605) 945-4600




                                           June 3, 2019

Christopher William
701 S. Duluth Ave, Apt. #1
Sioux Falls, SD 57104

Re:    William v. Tenhaken et al; Civil Case No. 4:19-cv-4096

Dear Mr. William:
This is to advise you that our office received your Complaint, Civil Cover Sheet and Motion for
Leave to Proceed Without Prepayment of Fees on June 3, 2019. A new case was opened on your
behalf and assigned to Roberto A. Lange United States District Judge, along with the above-
referenced case number. Enclosed is a courtesy copy of the docket sheet for your case.

Please be advised that any future documents or correspondence you send to our office
concerning your case must have the above-referenced case number listed on them. All
documents submitted for filing must also contain an original signature. You are not required to
provide the court with copies of documents submitted for filing. Discovery requests, such as
interrogatories and requests for production of documents, and responses to discovery requests
cannot be filed with the court. Instead, you must mail discovery requests and responses directly
to the defendant or, if represented, to counsel. Do not mail discovery requests to the defendant or
defense counsel until after the defendant has filed an Answer or Motion to Dismiss.

When this office receives documents for filing, the documents are electronically scanned and the
scanned documents become the new official court record. The quality of the official court record
is determined by the quality of the original documents submitted for filing. Therefore, I strongly
recommend that any writing contained in documents you submit for filing be dark enough for
scanning and only be printed on one side of the paper. All documents must be on 8 ½ x 11 inch
paper.

You will receive copies of any court orders issued in your case. If you completed and returned
the CM/ECF Pro Se Litigant Application Form requesting electronic notice, you will receive all
unrestricted documents electronically. It is important that you keep copies of all documents filed
in your case for your own records, including documents you submit for filing. If you request
copies, you will be charged fifty cents ($0.50) per page.



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Due to the large volume of cases filed in this court and the court’s limited resources, the clerk’s
office cannot respond to inquiries regarding the status of your case. In addition, judges,
magistrate judges, the clerk of court, and our office are precluded from giving legal advice to
litigants and will not respond to any such inquiries from you concerning your case.

                                                      Sincerely,

                                                      /s/ Matthew W. Thelen
                                                      Matthew W. Thelen
                                                      Clerk of Court

MWT: skk
Enc.




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